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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                   CASE NO.:

 SATARA N. MONROE,

                            Plaintiff,
 vs.

 WELLS FARGO BANK, N.A.,

                            Defendant.

 ______________________________________/

                          COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, SATARA N. MONROE (“Ms. Monroe”) and sues Defendant,

 WELLS FARGO BANK, N.A. (“Wells Fargo”), and states:

                                                  INTRODUCTION

        Banking while black—that was Ms. Monroe’s crime. Ms. Monroe’s story is just another

 chapter in the tragic tale of the weaponization of 911. Ms. Monroe went to Wells Fargo to cash a

 paycheck that was drawn on a Wells Fargo account. When she was accused of fraud, her own boss

 physically went to his local Wells Fargo branch to speak with the branch manager in person to see

 what the issue was with the check he had signed earlier that day. Not enough for Wells Fargo who

 called the police to interrogate Ms. Monroe and treat her like a common criminal for absolutely no

 compelling reason. Sadly, this is just a continuation of the devasting pattern and practice of

 corporate America to call the police in to deal with any black customers they choose not to deal

 with or to be suspicious of simply on the basis of the color of their skin. It took two hours, an

 interrogation by the police, and her boss having to drive to the branch for Ms. Monroe to have her

 paycheck cashed, like any white customer would have had done without delay.


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                                                   JURISDICTION

        1.        This is an action against Wells Fargo to recover damages pursuant to Section 1981

 of the Civil Rights Act of 1866, 42 U.S.C. § 1981, et seq., as amended, (“Section 1981”).

        2.        Jurisdiction of this Court arises under 28 U.S.C. 1331 because the Complaint

 alleges a federal claim and requires the resolution of substantial questions of federal law.

        3.        Venue in this District is proper under 28 U.S.C. 1391 because a substantial part of

 the events and omissions complained of took place in this District.

                                                        PARTIES

        4.        At all times relevant to this Complaint, Ms. Monroe was and is a U.S. Citizen, over

 the age of 18, and a person with standing to bring a claim under Section 1981.

        5.        Ms. Monroe is 40 years old and is of African-American descent.

        6.        Wells Fargo is the primary subsidiary of Wells Fargo & Company and designates

 its main office in Sioux Falls, South Dakota. Wells Fargo is a result of a merger between Wells

 Fargo & Company, Norwest Corporation, and Wachovia.

        7.        As of December 2017, Wells Fargo has 5,800 retail branches and 13,000 automated

 tellers. Wells Fargo has over 70 million customers globally. Ms. Monroe was simply hoping to be

 treated the same way as the many other millions of Wells Fargo customers.

        8.        Along with Bank of America, Citigroup, and JPMorgan Chase, Wells Fargo is one

 of the “Big Four Banks” of the United States.

                               BACKGROUND AND GENERAL ALLEGATIONS

        9.        Ms. Monroe provides in this Background and General Allegations section the

 general substance of certain factual allegations. Ms. Monroe does not intend that this section

 provide in exact detail, or necessarily in chronological order, any or all allegations. Rather, Ms.


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 Monroe intends that this section merely provide Wells Fargo fair notice of the general nature and

 substance of her allegations.

        10.       At all times material to this Complaint, Ms. Monroe was employed by IMBG

 Marketing, LLC—a marketing company based out of Coral Springs, Florida and owned by Jacquez

 Tullis (“Mr. Tullis”).

        11.       Ms. Monroe would get paid weekly and Mr. Tullis would sign her check which was

 drawn upon a Wells Fargo account. If Ms. Monroe did not want to wait until the check cleared her

 own checking account, she would go to a local Wells Fargo branch and cash the check there.

        12.       Within the past four years, Ms. Monroe visited the Wells Fargo branch located at

 2400 E. Atlantic Blvd., Pompano Beach, Florida, to cash her weekly pay check.

        13.       As Ms. Monroe was not a Well Fargo account holder, the teller—a young white

 female—asked Ms. Monroe for two forms of identification which Ms. Monroe provided.

        14.       Ms. Monroe also complied with the teller’s request that she endorse the back of the

 check as well as to place her thumbprint on the check.

        15.       The teller then told Ms. Monroe that she could not cash the check and handed it

 back to her. When presses, the teller told Ms. Monroe that she had called the business owner to

 verify the check and was told it was fraudulent. Shocked, Ms. Monroe immediately called Mr.

 Tullis to see what the problem was. Mr. Tullis was shocked himself and said that he had received

 no such call and that there was not a problem with the check. Mr. Tullis spoke with the teller and

 identified himself, to no avail.

        16.       Ms. Monroe again attempted to have her check cashed. At that point, a manager

 came over and herded Ms. Monroe into a small office while they were “verifying the check.”

        17.       Disturbed at what he heard, Mr. Tullis got up and drove to the local Wells Fargo


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 branch in Tamarac, Florida—just a few minutes away—where he regularly did business and spoke

 with the manager, Julie.

         18.       Julie immediately called over to the Pompano Beach branch to clear up any issues,

 also, to no avail, as Ms. Monroe reported that Wells Fargo still refused to cash her check and that

 she was quite upset about how way she was being treated.

         19.       Mr. Tullis couldn’t understand why there was still an issue after he had personally

 spoken with the manager in the Tamarac branch, so he got back in his car and drove over to the

 Pompano Beach branch to see what was going on, while he remained on the phone with Ms.

 Monroe.

         20.       Despite being presented with a valid check, confirmation from the account owner

 by telephone and then in person, Wells Fargo decided to call the police instead.

         21.       Instead of calling the actual account holder to verify the check, the teller called the

 police and as is heard on the 911 recording, stated that she “had a fraud in progress” and that she

 “verified that it’s fraud.”

         22.       As Ms. Monroe was on the phone with Mr. Tullis who was on the way over to the

 branch, three deputy sheriffs with the Broward County Sheriff’s office came into the room and

 began interrogating her, accusing her of fraud, and asking her who her accomplice was. Ms.

 Monroe was forced to undergo the terrifying interrogation for about an hour, desperately pleading

 and protesting her innocence.

         23.       The last thing Mr. Tullis heard Ms. Monroe say was “they’re taking away my

 phone.”

         24.       After Mr. Tullis arrived, identified himself, was made to wait, and finally spoke

 with the officers, the officers determine that there was no fraud and Ms. Monroe was free to go.


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        25.       What should have been a simple transaction, ended up with Ms. Monroe being stuck

 in a small office for over two hours, interrogated like a common criminal and suffering deep

 embarrassment and humiliation.

        26.       Despite their repeated requests, neither Mr. Tullis nor Ms. Monroe were told what

 the purported issues with the check were.

        27.       Ms. Monroe was outraged, humiliated, and quite traumatized.

        28.       Neither the teller nor the manager ever apologized to Ms. Monroe. It wasn’t until

 later in the day that Julie called Ms. Monroe to apologize.

        29.       Mr. Tullis’ white employees never had any issues cashing their checks.

        30.       All conditions precedent to the filing of this action have occurred or have been

 waived.

                                                       COUNT I
                                                   Violation of §1981

        31.       Ms. Monroe repeats, realleges and incorporates paragraphs 1 through 30.

        32.       As described above, Wells Fargo’s outrageous conduct constituted discrimination

 because of Ms. Monroe’s race in violation of Section 1981 of the Civil Rights Act of 1866, as

 amended, 42 U.S.C. § 1981, et seq.

        33.       Through Wells Fargo’s discriminatory conduct, it deprived Ms. Monroe of her right

 to make and enforce contracts on the same terms as enjoyed by white persons, in violation of 42

 U.S.C. § 1981.

        34.       In addition, Wells Fargo is liable for its employees’ actions under the doctrine of

 respondeat superior.

        35.       Ms. Monroe is an African-American woman. Wells Fargo denied Ms. Monroe the

 opportunity to cash a paycheck solely because she is an African-American woman. Ms. Monroe’s

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 race was the motivating factor why Wells Fargo discriminated against Ms. Monroe. By virtue of

 Wells Fargo’s actions and inactions as set forth above, Wells Fargo has violated §1981.

        36.       Wells Fargo’s conduct in discriminating against Ms. Monroe due to her race was

 intentional. Wells Fargo engaged in a discriminatory practice with malice or with reckless

 indifference to the federally protected rights of Ms. Monroe.

        37.       As a direct and proximate result of Wells Fargo’s actions, Ms. Monroe has suffered

 personal humiliation, loss of capacity for the enjoyment of life, mental anguish, and

 embarrassment justifying an award including compensatory damages and punitive damages

 according to proof against Wells Fargo.

        38.       As a result of the deprivations of rights at the hands of Wells Fargo, Ms. Monroe

 has retained Rodal Law, P.A., and has agreed to pay them a reasonable fee, which she is entitled

 to recover pursuant to 42 U.S.C. 1988(b) and otherwise by law.

        WHEREFORE, Plaintiff, SATARA N. MONROE, demands judgment against Wells

 Fargo, N.A. for damages as set forth above, attorney’s fees and costs pursuant to 42 U.S.C.

 1988(b) and for such further relief as this Court deems just and equitable.

                                                  COUNT II
                                 Intentional Infliction of Emotional Distress

        39.       Ms. Monroe repeats, realleges and incorporates paragraphs 1 through 30.

        40.       Wells Fargo’s employees engaged in extreme and outrageous conduct by refusing

 to allow Ms. Monroe to cash her check due to her race and color. Wells Fargo’s employees

 continued extreme and outrageous conduct by not cashing the check even after the account holder

 personally appeared at the bank.

        41.       Wells Fargo’s actions intentionally, or in the alternative, recklessly caused Ms.

 Monroe severe emotional distress. Wells Fargo’s actions were malicious.

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        WHEREFORE, Plaintiff, SATARA N. MONROE, demands judgment against Wells

 Fargo, N.A. for damages as set forth above and for such further relief as this Court deems proper.

                                      DEMAND FOR JURY TRIAL

        Plaintiff, SATARA N. MONROE, hereby demands a trial by jury of all issues so triable.

                                                           Respectfully Submitted,

                                                           /s/ Yechezkel Rodal
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